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                                                               1   COHEN JOHNSON, LLC
                                                                   H. STAN JOHNSON, ESQ.
                                                               2   Nevada Bar No. 00265
                                                                   sjohnson@cohenjohnson.com
                                                               3   375 E. Warm Springs Road, Suite 104
                                                                   Las Vegas, Nevada 89119
                                                               4   Telephone: (702) 823-3500
                                                                   Facsimile: (702) 823-3400
                                                               5   Attorneys for Debtor

                                                               6                          UNITED STATES BANKRUPTCY COURT
                                                                                                 DISTRICT OF NEVADA
                                                               7

                                                               8    IN RE:                                             BK-22-12435-nmc

                                                               9    ASIA PALACE RESTAURANT INC.                        CHAPTER 11
                                                              10                          Debtor(s).
                                                              11

                                                              12
COHEN-JOHNSON, LLC
                     375 East Warm Springs Road., Suite 104




                                                              13                                  CERTIFICATE OF SERVICE
                      (702) 823-3500 FAX: (702) 823-3400
                            Las Vegas, Nevada 89119




                                                              14       1.        On September 7, 2022, I served the following document(s):
                                                              15
                                                                            a.    Opposition to Motion for Relief from Automatic Stay ECF No. 27
                                                              16       2. I served the above-named document(s) by the following means to the persons as listed
                                                                       below:
                                                              17

                                                              18            a.    ECF System:

                                                              19
                                                                   CANDACE C CARLYON on behalf of Interested Party EASTERN SILVERADO LLC
                                                              20

                                                              21   ccarlyon@carlyoncica.com,

                                                              22   CRobertson@carlyoncica.com;nrodriguez@carlyoncica.com;9232006420@filings.docketbird.co

                                                              23   m;Dcica@carlyoncica.com
                                                              24   TRACY M. O'STEEN on behalf of Interested Party EASTERN SILVERADO LLC
                                                              25
                                                                   tosteen@carlyoncica.com,
                                                              26
                                                                   crobertson@carlyoncica.com;nrodriguez@carlyoncica.com;ccarlyon@carlyoncica.com
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                                                               1   BRIAN D. SHAPIRO

                                                               2   brian@trusteeshapiro.com,
                                                               3
                                                                   nv22@ecfcbis.com;kristin@trusteeshapiro.com;carolyn@brianshapirolaw.com
                                                               4
                                                                   U.S. TRUSTEE - LV - 11
                                                               5
                                                                   USTPRegion17.lv.ecf@usdoj.gov
                                                               6
                                                                   JUSTIN CHARLES VALENCIA on behalf of U.S. Trustee U.S. TRUSTEE - LV - 11
                                                               7

                                                               8   justin.c.valencia@usdoj.gov

                                                               9
                                                                          I declare under penalty of perjury that the foregoing is true and correct.
                                                              10
                                                                          Dated on: September 7, 2022.
                                                              11

                                                              12   Kenia Gutierrez                                   /s/ Kenia Gutierrez
COHEN-JOHNSON, LLC




                                                                   (Name of Declarant)                               (Signature of Declarant)
                     375 East Warm Springs Road., Suite 104




                                                              13
                      (702) 823-3500 FAX: (702) 823-3400
                            Las Vegas, Nevada 89119




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